UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA

vz

GREGORY B. CRAIG,

Defendant.

 

 

Case 1:19-cr-00125-ABJ Document 161 Filed 09/04/19 Page 1 of 33

Case No. 1:19-cr-0125 (ABJ)

DEFENDANT’S TRIAL EXHIBIT LIST

 

 

 

 

 

 

 

 

 

DX DATE PRODUCTION |; DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
1 2/13/2012 USA-REL- | Email chain among G.
0157968 Craig and C. Sloan
regarding a retainer and
FARA registration
2 2/13/2012 USA-REL- | Email chain among C.
0157998 Sloan and D. Zornow
regarding requested
report from D. Schoen
and V. Pinchuk
3 2/20/2012 | USA-0014470 | Emails between G. Craig
and C. Sloan regarding
draft retainer agreement
4 2/20/2012 USA-REL- | Email chain among P.
0000410 Manafort and G. Craig
regarding the Skadden-
MoJ engagement letter
6 2/24/2012 USA-REL- | Email chain between G.
0158047 Craig, C. Sloan, and D.
Zornow regarding
retainer letter
8 3/15/2012 USA-REL- | Email from C. Sloan to
0110414 G. Craig regarding
rescheduling the trip to
Kiev
9 3/15/2012 USA-REL- | Email from G. Craig to
0176878 C. Sloan regarding

 

 

 

rescheduling the trip to
Kiev

 

 

 

 

 

 

 
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‘DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
11 3/17/2012 USA-REL- | Email from P. Manafort
0008074 to G. Craig regarding a
meeting about fees
12 | 3/17/2012 USA-REL- | Email from G. Craig to
0008076 P. Manafort to request a
meeting about fees
13, | 3/19/2012 USA-REL- | Email from C. Sloan to
0176883 G. Craig regarding
rescheduling the trip to
Kiev
14 | 3/20/2012 USA-REL- | Email chain among D.
0000470 Schoen, G. Craig, and P.
Manafort regarding
rescheduling of the Kiev
trip
15 | 3/20/2012 | USA-REL-_ | D. Schoen handwritten
0027611 note to G. Craig
16 | 3/30/2012 USA-REL- | Email forward from C.
0110446 Whitney to G. Craig
attaching memorandum
regarding initial trip to
Ukraine and attorney
profiles
17 4/2/2012 USA-REL- | Email from D. Schoen to
0027686 G. Craig regarding
breakfast with V.
Pinchuk
18 4/2/2012 USA-REL- | Email from G. Craig to
0176993 A. van der Zwaan, C.
Sloan, and A. Haskell
attaching a memorandum
containing initial project
description
19 4/5/2012 USA-REL- | Retainer Memorandum re
0000038 Terms and Conditions
20 4/5/2012 USA-REL- | Memorandum from G.
0177339 Craig to V. Pshonka
regarding two projects
21 4/7/2012 USA-REL- | Email from G. Craig to
0110871 C. Sloan forwarding
message from D. Schoen
regarding V. Pinchuk

 

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DATE PRODUCTION | DESCRIPTION WITNESS AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
22 | 4/10/2012 | USA-0014622 | Emails among C. Craig,
D. Zornow, and C. Sloan
regarding need to talk
23 | 4/10/2012 USA-REL- | Retainer Memorandum re
0007958 Terms and Conditions
24 | 4/11/2012 USA-REL-_ | Email chain among A.
0111343 van der Zwaan, G. Craig,
and C. Sloan regarding
incorporating FARA
language into retainer
agreement SLOAW 6h a3
25 | 4/23/2012 | USA-0014026 | Emails between A.
Haskell and M. Cowie
regarding application of
FARA
26 | 4/26/2012 USA-REL- | Email chain among J.
0341915 Hawker and E. Reilly
regarding the former's
discussion with M.
Cowie about prospective
Ukraine job
27 5/1/2012 USA-REL- | Email chain among M.
0360839 Beauregard, E. Reilly
and J. Hawker regarding
M. Cowie call on
Ukraine job
28 5/9/2012 USA-REL- | Email chain between J.
0350174 Hawker and J. Aarons
regarding travel to Kiev
30 | 5/10/2012 USA-REL- | Email chain among P.
0008357 Manafort, G. Craig, and
A. van der Zwaan
regarding payment to FTI
32 | 5/10/2012 USA-REL- | Email from A. van der
0178711 Zwaan to B. Kelly and G.
Craig regarding payment
to FTI
33 5/10/2012 USA-REL- | Email chain among R.
0346580 Bhavnani, M. Malloch-
Brown, and J. Hawker
regarding deciding to
take Ukraine job

 

 

 

 

 

 

 

 

 

 
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DX

 

 

 

 

 

 

 

 

 

 

 

DATE PRODUCTION | DESCRIPTION WITNESS ; ID; AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
34 | 5/11/2012 USA-REL- | Email chain between N.
0178938 Sadiq, D. Nordlinger, and
A. van der Zwaan
regarding FTI
engagement
35 | 5/12/2012 USA-REL- | Email chain among J.
0359452 Aarons and S. Elliott
confirming that project
will proceed
36 | 5/12/2012 USA-REL- | Email from E. Reilly to
0360408 M. Malioch-Brown with
draft memo regarding
FTI decision to represent
Ukraine Prosecutor
General
37 | 5/13/2012 USA-REL- | Email from J. Aarons to
0342463 R. Gates and J. Hawker
forwarding draft letter of Ho | of
engagement ker 8/t| tt
38 | 5/14/2012 USA-REL- | Email from R. Hall to J.
0342203 Hawker and J. Aarons
attaching list of potential
media contacts
39 | 5/15/2012 USA-REL- | Email from J. Hawker to
0345228 J. Aarons, R. Hall and S.
E}liott attaching draft
media strategy
40 5/16/2012 USA-REL- | Email from J. Aarons to
0354095 R. Gates regarding
discussions with
Prosecutor General
41 5/16/2012 USA-REL- | Email among A. van der
0049545 Zwaan and G. Craig
regarding contract
42 | 5/17/2012 USA-REL- | Email chain among T.
0345315 Leigh, J. Hawker and J.
Aarons regarding FTI
contract negotiation
43 | 5/18/2012 USA-REL- | Email chain among J.
0341486 Aarons and E. Reilly

 

 

 

regarding who will pay
FTI bills

 

 

 

 

 

 

 
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DX DATE PRODUCTION |; DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
44 | 5/20/2012 USA-REL- | Email from O. Zhylinska
00008 17 (on behalf of G. Craig) to
P. Manafort attaching
interim report
46 | 5/24/2012 USA-REL- | Email chain among A.
0000859 van der Zwaan, R. Gates,
G. Craig, K. Kilimnik, et
al. regarding the
Skadden-MoJ
engagement letter
47 | 5/24/2012 USA-REL- | Email chain among A.
0115981 van der Zwaan, G. Craig,
et al. regarding final MoJ
press release
48 | 5/24/2012 USA-REL- | Email chain between J.
0344100 Aarons and J. Hawker
forwarding discussions
with R. Gates about | puikeh. 8-b §-
payment
49 | 5/24/2012 USA-REL- | Email from J. Aarons to
0345393 J. Hawker regarding call
from R. Gates advising
that FTI will be a sub- 4 bon g. 9.
contractor of Skadden ie
50 | 5/24/2012 USA-REL- | Email chain among E.
0352955 Reilly, J. Aarons and T.
Leigh forwarding email
ultimatum to R. Gates
51) | 5/25/2012 USA-REL- | Email chain among A.
0116030 van der Zwaan and G.
Craig regarding the
Skadden-MoJ
engagement letter
52 | 5/25/2012 USA-REL- | Email chain among R.
0341515 | Aarons, E. Reilly and T.
Leigh regarding
contacting G. Craig about
subcontracting with
Skadden
53 | 5/29/2012 USA-REL- | Email chain among E.
0029205 Reilly, G. Craig, J.

 

 

 

Aarons, et al. regarding
FTI engagement

 

 

 

 

 

 

 
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DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
54 5/29/2012 USA-REL- | Engagement letter from
0031433 J. Aarons to G. Craig
regarding Strategic
Communications
Services Project
§§ | 5/29/2012 USA-REL- | Email chain among E.
0341349 Reilly, J. Hawker, J.
Aarons, T. Leigh
regarding Ukraine
engagement
56 | 5/30/2012 USA-REL- | Email from A. Haskell to
0170909 G. Craig, M. Loucks, M.
Cowie, et al. attaching a
list of Tymoshenko's acts
of deceit, dishonesty, and
neglect of duty
57 | 5/30/2012 USA-REL- | Email chain between G.
0179635 Craig and S. Viasenko
regarding a meeting
58 5/31/2012 USA-REL- | Email from A. Haskell
0171195 forwarding message from
A. Haskell regarding
factual disputes
59 | 5/31/2012 USA-REL- | Emails between J.
0341318 Aarons and E. Reilly
regarding possibility of
FTI subcontracting under
Skadden
60 6/0/2012 USA-REL2- | Draft ECFMU release
0000174
61 6/2/2012 USA-REL-_ | Email from J. Aarons to
0348623 R. Gates threatening to
stop work if contract is
not signed
62 6/4/2012 USA-REL- | Email chain among G.
0050141 Craig, A. van der Zwaan,
M. Cowie, et al.
regarding FTI
engagement
63 6/6/2012 USA-REL- | Email from J. Aarons to
0341131 E. Reilly regarding lack
of clarity on the contract

 

 

 

 

 

 

 

 

 

 
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DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
64 6/6/2012 USA-REL- | Email from J. Aarons to
0358917 R. Gates regarding
Deputy Prosecutor
General trip to US
65 6/7/2012 USA-REL- | Email from A. Haskell to
0171629 G. Craig, C. Sloan, et al.
regarding S. Vlasenko
66 | 6/15/2012 USA-REL- | Email from R. Hall to J.
0346892 Hawker and J. Aarons
attaching media strategy
document
67 | 6/19/2012 USA-REL- | Email from R. Gates to J.
0344971 Hawker advising that
draft contract with FTI is
forthcoming
68 | 6/20/2012 USA-REL- | Email from C. Sloan to
0198646 P. Kerlin agreeing to a
meeting
69 6/20/2012 USA-REL- | Email to P. Kerlin
0215701 containing Westlaw
research regarding FARA
70 | 6/20/2012 USA-REL- | Email chain among J.
0342678 Aarons, R. Gates and J.
Hawker regarding FTI
contract
71 =| 6/24/2012 | USA-REL2- | Email from R. Gates
0003962 regarding release of the
Skadden Report
73 | 6/28/2012 | USA-REL2- | Email chain among C.
0010651 Antelo, K. Griffis, A.
Kauders and K. Zoeller
regarding article about
Tymoshenko meeting
with Skadden
75 7/9/2012 USA-REL- | Email from A. van der
0121164 Zwaan to G. Craig
regarding FTJ
engagement
76 7/9/2012 USA-REL- | Email chain among A.
0221273 van der Zwaan and A.
Haskell regarding
document translations

 

 

 

 

 

 

 

 

 

 
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Kedem, and C. Sloan
regarding Russian and
Ukrainian translations of
the Skadden Report

 

 

 

 

 

‘DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
77 | 7/10/2012 USA-REL- | Email chain among R.
0345272 Gates, J. Aarons and J. Cras gu oh
Hawker attaching list of
contacts for Skadden Hilen 3 8-0
Report
78 7/12/2012 USA-REL- ; Email from J. Hawker to
0346836 J. Aarons advising
Skadden Report to be G-2e0
released July 23 Moke bb
79 | 7/17/2012 USA-REL- | Email from J. Aarons to
0356184 O. Leonov with news
that Skadden Report is
being delayed
80 | 7/18/2012 USA-REL- | Email from A. Kedem to
0223827 A. van der Zwaan
regarding Project One
81) | 7/25/2012 USA-REL- | Email from A. Kedem to
0200363 C. Sloan regarding the
selective prosecution
section of the Skadden
Report
83 | 7/29/2012 USA-REL- | Email from G. Craig to
0183997 C. Sloan, A. Haskell, A.
van der Zwaan, and A.
Kedem regarding a
Russian translation of the
Skadden Report
84 | 7/30/2012 USA-REL- | Email from G. Craig to
0000923 P. Manafort suggesting
the English version
should be the official
version of the Skadden
Report
85 7/30/2012 USA-REL- | Email forward from G.
0055837 Craig to A. van der
Zwaan regarding Russian
and Ukrainian
translations of the
Skadden Report
86 | 7/30/2012 | USA-REL- | Email chain among G.
0184023 Craig, A. Haskell, A.

 

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DX

DATE

PRODUCTION
BATES

DESCRIPTION

WITNESS

ID

AD

EXHIBIT SENT
IN TO JURY
(DATE/TIME)

OBJECTIONS

 

87

7/30/2012

USA-REL-
0350131

Email chain among R.
Gates, J. Aarons, J.
Hawker and A. van der
Zwaan scheduling call

 

88

7/31/2012

USA-REL-
0000925

Email chain among P.
Manafort and G. Craig
regarding Russian and
Ukrainian translations of
the Skadden Report

CERig

i

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ee

 

89

8/2/2012

USA-REL-
0158616

Email chain between P.
Manafort and G. Craig
regarding proposed
comments

 

90

8/3/2012

USA-0017286

Email chain between P.
Manafort and G. Craig
regarding proposed
comments

 

91

8/7/2012

USA-REL-
0136195

Email chain among A.
van der Zwaan, G. Craig,
C. Sloan, et al. regarding
Russian and Ukrainian
translations of the
Skadden Report

 

92

8/9/2012

USA-REL-
0176345

Email from S. Zaki to M.
Porter, A. van der
Zwaan, M. Loucks, et al.
regarding Skadden Stink
article

 

93

8/9/2012

USA-REL-
0342507

Email from J. Hawker to
R. Gates attaching master
control grid

 

94

8/10/2012

USA-0014809

Email between A. van
der Zwaan, G. Craig, C.
Sloan, A. Kedem, A.
Haskell regarding
comments

Sloan

 

 

95

 

8/16/2012

 

USA-0015568

 

Email among A. van der
Zwaan, O. Smolova, G.
Craig, C. Sloan, A.
Kedem, and A. Haskell
re comments

 

 

 

 

 

 

 
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DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
96 | 8/23/2012 USA-REL- | Email chain among A.
0167392 Haskell, C. Sloan, A.
Kedem, et al. regarding a
response to an email
from S. Vlasenko
97 | 8/24/2012 USA-REL- {| Email from A. van der
0167403 Zwaan to G. Craig, C.
Sloan, A. Kedem, and A. ey ha
Haskell attaching Sloan | ‘AY ¥
proposed comments
98 | 8/24/2012 USA-REL- | Email from J. Aarons to
0350482 R. Gates and J. Hawker
attaching
communications strategy
document Chis, §-0t| 8-4b
99 | 8/24/2012 | USA-REL2- | Email chain among T.
0025200 Podesta, K. Griffis, K.
Fritts, and R. Edgar re:
SA report
100 | 8/27/2012 USA-REL- | Email chain between G.
0016804 Craig and P. Manafort
regarding proposed
comments for the
Skadden Report
101 | 8/27/2012 USA-REL-_ | Email chain among A.
0187233 Haskell, C. Sloan, A.
Kedem, et al. regarding
an email from S.
Viasenko
102 | 8/28/2012 USA-REL- | Email forward from G.
0162990 Craig to C. Whitney
attaching media plan
103 | 8/28/2012 USA-REL- | FTI Media Pian
0337749
104 | 8/30/2012 USA-REL- | Email chain among G.
0073935 Craig, A. van der Zwaan,
A. Haskell, et al.
regarding finalizing the
Skadden Report
105 {| 8/30/2012 USA-REL- | Email from A. van der
0167421 Zwaan to G. Craig, C. fy _|¢
Sloan, A. Kedem, and A. Olo a ZI if
Haskell attaching
proposed comments

 

 

 

 

 

 

 

 

 

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DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
106 | 8/30/2012 USA-REL- | Email from J. Aarons to

0344875 J. Hawker attaching draft
strategy memos for P.

Manafort and R. Gates
107 | 9/2/2012 USA-REL- | Email chain among P.

0006022 | Manafort and G. Craig Wj i]
regarding J. Hawker's (aa hy ds
opinion of the Skadden
Report

408 9/2/2012 USA-REL- | Email from P. Manafort
~ 0006028 ‘| to G. Craig attaching
letter from K. Kilimnik
109 | 9/3/2012 USA-REL-_ | Email chain between G. /

0006057 Craig and P. Manafort = ((2A(G_ 1 hg
regarding proposed
comments for the
Skadden Report

110 | 9/3/2012 USA-REL-_ | Email chain among G.

0016828 Craig, P. Manafort, and
C. Sloan regarding
comments to the draft
Skadden Report

111 | 9/3/2012 USA-REL-_ | Email chain among G.

0074026 Craig and A. van der
Zwaan regarding
comments to the draft
Skadden Report

112 | 9/4/2012 USA-REL- | Email from A. van der
0167429 Zwaan to G. Craig, A.
Haskell, A. Kedem and a, 18
Sloan attaching Slaan 7 j 5
anslated comments
from Ukraine on the
Skadden Report
113 | 9/7/2012 USA-REL- | Email from J. Hawker to

0346586 J. Aarons regarding
uncertain timing of the
release of Skadden ! le
Report Ms vlia jo) §

114 | 9/7/2012 USA-REL- | Emails between J.

0348736 Hawker and K. Kilimnik

 

 

 

regarding Skadden
wanting to meet with Y.
Tymoshenko

 

 

 

 

 

 

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DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
115 | = 9/8/2012 USA-REL- | Email chain among A.
0145065 van der Zwaan, G. Craig,
C. Sloan, et al. regarding
getting a copy of the
Skadden Report to R.
Gates
116 | 9/10/2012 | USA-REL- | Email chain among P.
0006105 Manafort and G. Craig
regarding the release of
the Skadden Report
117 | 9/10/2012 USA-REL- | Email from G. Craig to
0016891 P. Manafort attaching
draft Skadden Report in
English
118 | 9/10/2012 USA-REL-_ | Email from G. Craig to
0017204 P. Manafort attaching
executive summary of
the Skadden Report
119 | 9/11/2012 | USA-0014002 | Email among A. Haskell,
A. Kedem, G. Craig, C. 7 9
Sloan regarding final Deen 21 | lq]
tweaks °
120 | 9/11/2012 USA-REL- | Email from P. Manafort
0006119 to G. Craig attaching
revisions to final
Skadden Report
121 | 9/11/2012 USA-REL- | Email from G. Craig to
0017225 P. Manafort regarding
proposed comments
122 | 9/11/2012 USA-REL- | Email from J. Hawker to
0342754 J. Aarons attaching
version 2 of "A More
Modern Ukraine” memo
123 | 9/12/2012 USA-REL- | Email from J. Hawker to
0344308 R. Gates attaching master | _,
control grid CAN oti ora
124 | 9/12/2012 USA-REL- | Email from J. Hawker to
0344806 J. Aarons attaching draft
project veritas messaging
125 | 9/12/2012 USA-REL- | Email from J. Hawker to
0348498 | R.Gates attaching "Fri | 4% eas ji ,
Cut Down Media Plan”
for when the report is Hawker ee o
released

 

 

 

 

 

 

 

 

 

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DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE IME)
126 | 9/12/2012 USA-REL- | Email from J. Hawker to
0350077 R. Gates attaching Q and Gens gh t sf ¢
A for Ministry of Justice
and draft statements on Hwsker she shy
Skadden Report
127 | 9/12/2012 USA-REL- | Email from J. Hawker to
0350707 R. Gates attaching master
control grid
128 | 9/13/2012 USA-REL-_ | Emails between K.
0342819 Kilimnik and J. Hawker
regarding using the
Ministry of Justice
comments to Skadden for
preparing Q and As
129 | 9/13/2012 USA-REL- | Email from K. Kilimnik
0343536 to J. Hawker attaching
Ministry of Justice
suggestions on draft
report
130 | 9/13/2012 USA-REL- | Email from J. Hawker to
0347816 R. Gates regarding draft
PR response for Skadden the gf
to use Heed @
131 | 9/14/2012 | USA-0014852 | Email from A. van der
Zwaan to G. Craig, C.
Sloan, A. Kedem,and A. |< oy ¥y y
Haskell attaching ZZ
proposed comments
132 | 9/17/2012 USA-REL- | Email from R. Gates
0342595 attaching P. Manafort
comments on FTI media
package Hauler ap i
133 | 9/17/2012 | USA-REL2- | C. Antelo email to R.
0003549 Gates regarding ECFMU
Strategy for committee
Senators
134 | 9/18/2012 USA-REL- | Email chain among R.
0007076 Gates and G. Craig ,
regarding comments CATES Glu Bh
135 | 9/20/2012 USA-REL- | Email from P. Manafort :
0007096 to G. Craig attaching

 

 

 

proposed changes to the
Skadden Report

 

 

 

 

 

 

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“DX

DATE

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BATES

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AD

EXHIBIT SENT
IN TO JURY
(DATE/TIME)

OBJECTIONS

 

136

9/20/2012

USA-REL-
0007103

Email from P. Manafort
to G. Craig attaching
comments for the
Skadden Report and
proposing a group
meeting

 

137

9/20/2012

USA-REL-
0018509

Email chain among G.
Craig and P. Manafort
regarding proposed
changes to the Skadden
Report

 

139

9/20/2012

USA-REL-
0148288

Email chain among A.
Haskell, A. van der
Zwaan, G. Craig, et al.
attaching proposed
changes to the Skadden
Report from R. Gates

 

140

9/20/2012

USA-REL-
0193817

Email chain among B.
Jackson and G. Craig
regarding Ukraine

 

141

9/21/2012

USA-REL-
0007129

Email forward from K.
Kilimnik to A. van der
Zwaan attaching the FTI
Media Plan

 

142

9/21/2012

USA-REL-
0344446

Email from A. van der
Zwaan to J. Hawker, P.
Manafort cc'ing G. Craig
attaching copy of
Skadden Report

Hawkes

ep

 

147

9/24/2012

USA-REL-
0347958

Email from R. Gates to J.

Hawker attaching his
notes from meeting at
Harvard Club

 

148

9/25/2012

USA-0008962

Email chain among A.
Haskell and C. Sloan
regarding FTI "veritas
Message Master”
document

 

 

149

 

9/25/2012

USA-REL-
0019666

 

 

Email from J. Hawker to
G. Craig, P. Manafort,
and R. Gates attaching
the FTI Media Plan

 

CARLO

Hawken

“/as

 

 

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DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
150 | 9/25/2012 USA-REL- | Email forward from R.
0026966 Gates to A. van der g
Zwaan including the (kts Ir 1g
message from G. Craig
that there is "a lot of stuff
in here that is just
wrong.”
151 | 9/25/2012 USA-REL- | Email chain among C.
0149983 Sloan and G. Craig
regarding paying and
backgrounding
journalists
152 | 9/25/2012 USA-REL- | Email chain among C.
0150939 —_| Sloan, G. Craig, J. q a %
Hawker, et al. regarding OGn ‘ i
the FTI Media Plan
153 | 9/25/2012 | USA-REL- | Email from C. Sloan to
0150948 G. Craig about draft
comments regarding the
FTI Media Plan
154 | 9/25/2012 | USA-REL- | Email from C. Sloan to
0191269 | G. Craig with draft ; S, |B
comments regarding the Hoan hy by
FTI Media Plan
185 | 9/25/2012 | USA-REL- | Email from A. van der
0342422 Zwaan to J. Hawker
confirming receipt of FTI
draft messaging and
providing a copy of
Skadden Report
156 | 9/25/2012 USA-REL- | Email from J. Hawker to
0345373 R. Gates attaching draft
news release for Ministry
of Justice
157 | 9/25/2012 USA-REL- | Email from J. Hawker to
0348868 R. Gates attaching
changes to media
package
159 | 9/26/2012 USA-REL- | Email chain among G.
0159022 Craig and J. Hawker

 

 

 

regarding changes to the
FTI Media Plan

 

 

 

 

 

 

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DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
160 | 9/26/2012 USA-REL- | Email from P. Manafort
0343523 to R. Gates, K. Kilimnik
and J. Hawker attaching
his analysis and an
overview of the Skadden
Report
161 | 9/26/2012 USA-REL- | Email from R. Gates to J.
0345420 Hawker attaching new
Skadden Report outreach
list - key political and
media contacts GATES $/n Se
162 | 9/27/2012 USA-REL- | Email from P. Manafort
0346213 to J. Hawker, R. Gates
and K. Kilimnik
attaching outline of key
findings of Skadden
Report
164 | 9/28/2012 |; USA-REL2- | R. Gates email to MCW
0003963 and PDG regarding DC
Plan
165 | 9/29/2012 | USA-REL- | Email chain among G.
0096765 Craig, A. van der Zwaan,
K. Kilimnik, et al.
regarding changes to the
Skadden Report .
167 | 9/29/2012 USA-REL- | Email from R. Gates
0345098 attaching timeline and GMs sf qu
Skadden Report outreach
list , Hrker slp the
168 | 9/30/2012 USA-REL- | Email from R. Gates to J.
0342570 Hawker attaching
Skadden Report release
planning document Canes 4 Yee
169 | 9/30/2012 USA-REL- | Email from R. Gates to J.
0342832 Hawker regarding Wave
2 of media engagement.
170 | 9/30/2012 USA-REL-_ | Email from R. Gates to
0346200 P. Manafort to K.
Kilimnik and J. Hawker
attaching media plan
documents
171 | 10/1/2012 | USA-REL2- | A. Wright email to MCW
0017111 and PDG regarding
ECFMU/Ukraine Call

 

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A. Kedem, C. Sloan, and
A. Haskell regarding
proposed comments

 

 

 

 

 

"DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT ; OBJECTIONS
BATES IN TO JURY
DATE IME)
172 | 10/2/2012 USA-REL- | Email forward from A.
0096824 van der Zwaan to G.
Craig attaching proposed
comments
173 | 10/2/2012 USA-REL-_ | Email chain between A.
0191382 van der Zwaan and G.
Craig regarding proposed
comments
174 | 10/2/2012 USA-REL- | Email from P. Manafort
0346343 to J. Hawker, R. Gates
and K. Kilimnik
attaching additions to
media package
175 | 10/3/2012 | USA-REL- | Email from J. Hawker to gn gt
0349345 _| R. Gates attaching Gths
proposed outreach list for abo
Skadden Report Howkee sho
176 | 10/4/2012 | USA-REL2- | Email with attached
0003622 memorandum from L.
Saunders to I. Kirsch, M.
Griffis, T. Podesta et al.
177 | 10/8/2012 | USA-0017497 | Email from G. Craig, to c gi 19
P. Manafort regarding (ffi log LA
comments to report.
178 | 10/8/2012 USA-REL- | Email from P. Manafort
0007585 to G. Craig attaching agrecr She he
comments for the
Skadden Report
179 | 10/8/2012 USA-REL- | Email from A. Kedem to
0098212 G. Craig, C. Sloan, A.
Haskell, and A. van der
Zwaan regarding
proposed revisions to the
Skadden Report
180 | 10/8/2012 USA-REL- | Email chain between A. oy 18
0098221 van der Zwaan, G. Craig, OGiG 8, tok,

 

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Saunders gchat about
Skadden report roll-out

 

 

 

 

 

“DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
181 | 10/8/2012 USA-REL- | Email from A. Kedem to
0098227 G. Craig, C. Sloan, A.
Haskell, and A. van der
Zwaan regarding
proposed revisions to the
Skadden Report
184 {| 10/16/2012 | USA-REL- | Email chain among A.
0151966 van der Zwaan and G.
Craig regarding delivery
of the Skadden Report to
the MoJ
187 | 10/27/2012 | USA-REL- | Email from K. Griffis to
0364972 J. Hawker attaching list
of journalists
188 | 10/31/2012 | USA-0020855 | A. Wright and L.
Saunders gchat after
ECFMU call
189 | 11/19/2012 | USA-0017507 | Email from G. Craig to
P. Manafort regarding
final issues
190 ; 11/19/2012 | USA-REL- | Email chain between A.
0193967 Haskell and G. Craig
regarding proposed
comments
191 | 11/26/2012 | USA-REL- | Email from G. Craig to
0019749 P. Manafort regarding
overview memo
192 | 11/27/2012 | USA-REL- | Email from R. Gates to
0020057 A. van der Zwaan and K.
Kilimnik attaching
proposed comments
193 | 11/27/2012 | USA-REL- | Email from A. van der
0105348 Zwaan to G. Craig and
A. Haskell attaching
proposed changes to the
Skadden Report
194 | 11/30/2012 | USA-0017517 | Email from P. Manafort
to K. Kilimnik, R. Gates
J. Hawker regarding
Q&A material and the (. b
Briefing Process tp wl eb
195 | 11/30/2012 | USA-0020870 | A. Wright and L.

 

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“DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
196 | 11/30/2012 | USA-REL- | Email from P. Manafort
0365485 to K. Kilimnik, R. Gates
J. Hawker attaching
memo for S. Lyovochkin,
FTI release memos and
A. van der Zwaan
recommendation for Hawkee ale
outside counsel familiar 3 bp
with the ECHR
199 | 12/6/2012 | USA-0009124 | Email from J. Hawker to
R. Gates regarding Phase
one media
200 | 12/6/2012 USA-REL- | Email among R. Gates, J.
0029944 Hawker, A. Friedman, A.
van der Zwaan, and K.
Kilimnik regarding
Project Veritas call.
201 | 12/6/2012 USA-REL- | Email among R. Gates, J.
0029946 Hawker, A. Friedman, A.
van der Zwaan, and K.
Kilimnik regarding
Project Veritas call
202 | 12/6/2012 USA-REL- | Email chain among J.
0030744 Hawker, A. van der
Zwaan, R. Gates, et al.
attaching the FTI Media
Plan
203 | 12/6/2012 USA-REL- | Email from M. Lantz to
0193987 G. Craig regarding the
release of the Skadden
Report
207 | 12/11/2012 N/A Google Maps route view
208 | 12/11/2012 | USA-REL- | Email chain among R.
0038299 Gates, E. Sager, A. van
der Zwaan, et al.
209 | 12/11/2012 | USA-REL- | Email chain among G.
0191857 Craig and A. van der

 

 

 

Zwaan regarding A.
Kwasniewski and C.
Salvalaggio

 

 

 

 

 

 

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DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
211 | 12/11/2012 | USA-REL- | Email from R. Gates to
0365783 D. Kuleba, O. Voloshyn,
K. Kilimnik, J. Hawker,
A. Friedman, A. van der
Zwaan and E. Sager
212 | 12/11/2012 | USA-REL- | Email from J. Hawker to
0366919 R. Fletcher requesting an
introduction to Tom Hy sh 3 }
Parfitt Aker |/t | Pies
214 | 12/12/2012 | USA-REL- | Email chain among D.
0161005 Sanger and G. Craig
regarding electronic
delivery
215 |) 12/12/2012 | USA-REL- | Email chain among D.
0161006 Sanger and G. Craig
confirming hard copy
delivery
216 | 12/12/2012 | USA-REL- | Email chain among T.
0191873 Parfitt and G. Craig
regarding approval of
quotes
218 | 12/12/2012 | USA-REL- | Email chain among G.
0194884 Craig, A. Haskell, D.
Sanger, et al. regarding
electronic delivery of the
Skadden Report
219 | 12/12/2012 | USA-REL- | Email chain among G.
0194885 Craig and D. Sanger
regarding electronic
delivery of the Skadden
Report
220 | 12/12/2012 | USA-REL- | Email from R. Gates to
0365791 A. van der Zwaan, A.
Friedman, K. Kilimnik, J.
Hawker and E. Sager
222 | 12/12/2012 | USA-REL- | Email chain among R.
0365831 Gates and A. van der

 

 

 

Zwaan, J. Hawker and K.
Kilimnik regarding
meetings in Poland

 

 

 

 

 

 

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"DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
224 | 12/12/2012 | USA-REL- | Email from J. Hawker to
0366993 T. Parfitt making contact
for a possible story on
Ukraine
225 | 12/12/2012 | USA-REL- | Emails between J.
0367310 Hawker and R. Gates
regarding comments
from Ministry of Justice
for T. Parfitt at Telegraph
226 | 12/12/2012 | USA-REL- | Email from J. Hawker to
0367315 R. Gates regarding 3 fp
Telegraph Hyaker She
227 | 12/12/2012 | USA-REL- | Email from J. Hawker to
0367319 T. Parfitt providing
answers to Telegraph
uestions for Ministry of !
Tustice Hauler s| t 3 &
228 | 12/12/2012 | USA-REL- | Email from J. Hawker to
0367333 R. Gates attaching
Ministry of Justice
release with tracked g hp
changes and advising that
answers have been sent Havsker g fo
to Telegraph
229 | 12/12/2012 | USA-REL- | Email chain among J.
0367342 Hawker and T. Parfitt
regarding approved
answers from O.
Lavrinovich
230 | 12/12/2012 | USA-REL- | Email from J. Hawker to
0367351 R. Gates attaching
rewrite of MOJ statement
231 | 12/12/2012 | USA-REL- | Email from J. Hawker to
0367358 R. Gates advising that he
has emailed G. Craig
with question from R.
Gates
235 | 12/12/2012 New York Times Article |(yeug [Yas |
236 | 12/13/2012 N/A The Daily Telegraph 7
article by T. Parfitt ny %
y CAcuge /y

 

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DX DATE PRODUCTION | DESCRIPTION WITNESS [| ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
238 | 12/13/2012 | USA-REL- | Email chain among R.
0007935 Gates, C. Craig, J.
Hawker, and A. van der
Zwaan regarding inquiry
by M. Danilova
239 | 12/13/2012 | USA-REL- j{ Emaii chain among L.
0039269 Weiss, J. Hawker, and A.
van der Zwaan regarding
inquiry
240 | 12/13/2012 | USA-REL- | Email chain among G.
0105659 Craig, L. Weiss, A. van
der Zwaan, et al.
regarding Telegraph
241 | 12/13/2012 | USA-REL- | Email forward from B.
0154222 Jackson to G. Craig
attaching MoJ press H k h |
release AS all Bh | O6
243 | 12/13/2012 | USA-REL- | Email from L. Weiss to
0154225 M. Huisman attaching
Skadden Report
244 | 12/13/2012 | USA-REL- | Email from E. Alpert to
0160134 G. Craig inquiring about
the Skadden Report
245 | 12/13/2012 | USA-REL- | Email chain among J.
0161318 Slattery and G. Craig
regarding call
246 | 12/13/2012 | USA-REL- | Email from L. Weiss to
0191909 S. Feldman and M. Porter
regarding the release of
the Skadden Report
247 | 12/13/2012 | USA-REL- | Email forward from B.
0194001 Jackson to G. Craig
attaching ANSA article
248 | 12/13/2012 | USA-REL- | Email chain among A. Cacug
0194895 Haskell and G. Craig
regarding Kiev Post
article Haske | ( uf, Ol,
249 | 12/13/2012 | USA-REL- | Email forward from G.
0194977 Craig to S. Weisman

 

 

 

including a link to the
Kiev Post article

 

 

 

 

 

 

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DX DATE PRODUCTION | DESCRIPTION WITNESS | ID; AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
250 | 4/22/2013 USA-REL- | Email from L. Weiss to
0196939 G. Craig including Los
Angeles Times article by
E. Alpert
251 | 12/13/2012 | USA-REL- | Email from R. Hall to R.
0361963 Gates, K. Kilimnik and J.
Hawker attaching :
summary of media Hyak sh ey
coverage
252 | 12/13/2012 | USA-REL- | Email from R. Gates to
0365894 P. Manafort, K.
Kilimnik, J. Hawker and
E. Sager regarding Radio
Free Europe
253 | 12/13/2012 | USA-REL- | Email from R. Gates to J.
0365909 Hawker and K. Kilimnik
regarding ANSA article
254 | 12/13/2012 | USA-REL- | Email from R. Gates to
0365910 P. Manafort, K. Kilimnik
E. Sager, K. Kilimnik, G.
Fenton and J. Hawker fe
regarding Ministry of Ha when. sf vi
Justice press release
getting good coverage
255 | 12/13/2012 | USA-REL- | Email from R. Gates to
0365934 P. Manafort, K. Kilimnik
and J. Hawker regarding
article
256 | 12/13/2012 | USA-REL- | Emails between J.
0365952 Hawker and R. Solash at
Radio Free Europe af
regarding Skadden report Hhwlker 9p b
and FTI
257 | 12/13/2012 | USA-REL- | Email from R. Gates to J.
0365954 Hawker requesting
articles
258 | 12/13/2012 | USA-REL- | Email thread among J.
0368645 Hawker, L. Weiss and A.
van der Zwaan regarding
media inquiry
259 | 12/13/2012 | USA-REL- | Email from J. Hawker to
0368647 M. Huisman providing

 

 

 

MO} statement to
National Law Journal

 

Hawtee

 

 

 

 

 

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DX

DATE

PRODUCTION
BATES

DESCRIPTION

WITNESS

ID

AD

EXHIBIT SENT
IN TO JURY
(DATE/TIME)

OBJECTIONS

 

262

12/13/2012

USA-REL2-
0003929

Email chain from B.
Chang to Gates et al.,
subject: State Dept. react
to New York Times
article

 

263

12/13/2012

USA-REL2-
0003931

Emaii chain from B.
Chang to Gates et al.,
subject: State Dept. react
to New York Times
article

 

265

12/13/2012

USA-REL2-
0026685

Email from R. Gates with
attached Skadden Report
Overview Points FINAL
and MoJ Skadden Press
Statement FINAL,
subject: Skadden Arps -
Report

 

266

12/13/2012

National Law Journal
Article

Cray

%
he

hid

 

267

12/13/2012

Los Angeles Times
Article

Haskell

sl,

alt

 

268

12/13/2012

Kiev Post article

 

269

12/14/2012

USA-REL-
0160444

Email from L. Weiss to
G. Craig, C. Sloan, and
M. Porter including the
revised National Law
Journal article

Haskel

 

270

12/14/2012

USA-REL-
0160447

Email chain among M.
Huisman and G. Craig
regarding revisions to the
National Law Journal
article

 

271

12/14/2012

USA-REL-
0160453

Email chain among L.
Weiss, G. Craig, and M.
Huisman regarding
revisions to the National
Law Journal article

 

 

272

 

12/14/2012

 

USA-REL-
0160454

 

Email from M. Huisman
to G. Craig regarding
revisions to the National
Law Journal article

 

 

 

 

 

 

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DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
273 | 12/14/2012 | USA-REL- | Email chain among G.
0160457 Craig, C. Sloan, and M.
Huisman regarding
revisions to National
Law Journal article
274 | 12/14/2012 | USA-REL- | Email chain among G.
0191918 Craig and C. Sloan
regarding call with L.
Weiss to educate M.
Huisman
275 | 12/14/2012 | USA-REL- | Email from C. Sloan
0201024 regarding National Law
Journal article
276 | 12/14/2012 | USA-REL- | Email from R. Gates to J.
0368648 Hawker, K. Kilimnik and
P. Manafort regarding FT
coverage
283 | 12/20/2012 | USA-REL- | Email chain between G.
0191960 Craig, A. Haskell, and A.
van der Zwaan regarding
final Skadden Report
285 | 12/27/2012 | USA-REL- | Email chain among C.
0201032 Sloan, L. Spiegel, G.
Craig, et al. regarding
response to December : .
18, 2012 NSD letter Slow» Ay oh
286 | 12/27/2012 | USA-REL- | Email chain among L.
0304546 Spiegel, C. Sloan, B.
Kelly, et al. regarding
response to December
18, 2012 NSD letter
287 | 12/27/2012 | USA-REL- | Email chain among C.
0304552 Sloan, L. Spiegel, B.
Kelly, et al. regarding
response to December
18, 2012 NSD letter
289 1/4/2013 USA-REL- | Email chain among C.
0304592 Sloan, L. Spiegel, and G.

 

 

 

Craig regarding response
to December 18, 2012
NSD letter

 

 

 

 

 

 

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Dx DATE PRODUCTION | DESCRIPTION WITNESS | ID; AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
290 1/4/2013 USA-REL- | Email from G. Craig to
0336987 L. Spiegel and C. Sloan
regarding response to
December 18, 2012 NSD
letter SLOAN om i. 3
291 | 1/11/2013 USA-REL- | Email chain between G.
0304624 Craig and L. Spiegel
regarding a draft
response to the NSD
292 | 1/14/2013 USA-REL- | Email chain among L.
0304628 Spiegel, C. Sloan, and G.
Craig regarding response
to NSD
293 | 1/18/2013 USA-REL- | Email chain among C.
0304635 Sloan and G. Craig
regarding response to
December 18, 2012 NSD
letter
294 | 1/18/2013 USA-REL- | Email from G. Craig to
0304636 L. Spiegel and C. Sloan
regarding response to
December 18, 2012 NSD
letter
295 | 2/5/2013 USA-REL- | Email from C. Sloan to
0304649 G. Craig regarding
response to December
18, 2012 NSD letter SUAS Bly ahs
297 | 4/22/2013 USA-REL-_ | Email chain among C.
0160520 Sloan, G. Craig, L.
Weiss, and M. Porter
regarding contact with
National Law Journal
and Los Angeles Times
299 | 4/29/2013 USA-REL- | Email from L. Weiss to
0155415 G. Craig and M. Porter
300 | 4/29/2013 USA-REL-_ | Email from G. Craig to
0304736 C. Sloan regarding
response to April 9, 2013
NSD letter
301 | 4/30/2013 | USA-REL2- | Email chain from M.
0012838 Baker to M. Tavlarides,
et al., subject: good times

 

 

 

 

 

 

 

 

 

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DX DATE PRODUCTION |; DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
302 | 5/1/2013 USA-REL- | Email from G. Craig to
0304738 C. Sloan regarding
response to April 9, 2013
NSD letter
303 | 5/1/2013 USA-REL- | Email from G. Craig to
0339232 C. Whitney regarding
response to April 9, 2013
NSD letter
305 | 6/3/2013 USA-REL- | Email chain among G.
0340518 Craig to C. Whitney
regarding response to
April 9, 2013 NSD letter
306 | 9/24/2013 USA-REL- | Email forward from G.
0304869 Craig to L. Spiegel
regarding call from A.
Mudd at the DOJ
307 | 10/10/2013 | USA-0009489 | Email chain among G.
Craig, K. Gross, and L.
Spiegel regarding draft
response to NSD
308 | 10/10/2013 | USA-REL- | Email from K. Gross to
0245986 G. Craig regarding
meeting with NSD
309 | 10/10/2013 | USA-REL- | Email chain among G.
0303739 Craig, L. Weiss, and C.
Sloan regarding National
Law Journal article
310 | 10/10/2013 USA-REL-_ | Undated, draft response
0336957 to September 5, 2013
letter from the NSD
311 | 10/11/2013 | USA-REL- | Email from C. Whitney
0197517 to A. Mudd attaching
October 10, 2013 letter to
NSD
312 | 10/14/2013 | USA-REL- | Email chain among L.
0160836 Weiss, G. Craig, and C.
Sloan regarding National
Law Journal article
313 | 1/14/2014 USA-REL- | Email from A. Haskell to
0721926 C. Sloan regarding S.
Vlasenko
314 | 1/27/2014 USA-REL- | Email from G. Craig to
0722977 C. Sloan attaching DOJ

 

 

 

letter

 

 

 

 

 

 

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DX DATE PRODUCTION | DESCRIPTION WITNESS {| ID | AD | EXHIBITSENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
317 | 2/27/2014 | USA-REL- | Email from G. Craig to
0305200 L. Spiegel attaching
memorandum of
conversation with H.
Hunt
320 | 2/21/2018 N/A Transcript of arraignment
and plea hearing of A.
van der Zwaan
322 | 3/27/2018 N/A Government's sentencing
memorandum for A. van
der Zwaan
324 | 4/3/2018 N/A Transcript of sentencing
of A. van der Zwaan
326 | 3/22/2019 Manafort Judgment in
17-CR-00201
327 | 5/13/2019 Manafort Judgment in
18-CR-00083
329 | 3/21/2012 USA-REL- | Email chain between G.
0027629 Craig and D. Schoen Schoen $i Gal,
regarding the retainer
330 Nicholas Katzenbach's
1963 Testimony to the
Senate Foreign Relations
Committee
EXHIBITS CONDITIONALLY DESIGNATED PENDING RULING ON MR. CRAIG'S
MOTION IN LIMINE REGARDING UKRAINE PROCUREMENT EVIDENCE:
DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
331 | 8/13/2012 USA-REL- | Email chain among C.
0158629 Whitney and D. Schoen
regarding setting up a
call with G. Craig
332 | 8/15/2012 USA-REL- | Email chain among D.
0029703 Schoen and G. Craig
regarding a call
333 | 8/15/2012 USA-REL-_ | Email from G. Craig to
0009980 P. Manafort and C. Sloan
regarding Pinchuk
334 | 8/15/2012 | USA-REL- | Email chain among C.
0136415 Whitney, A. van der

 

 

 

Zwaan, A. Haskell, and
K. Kilimnik regarding
letter from A. Sedov

 

 

 

 

 

 

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DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
(DATE/TIME)
335 | 12/20/2012 | USA-REL- {| Letter from A. Sedov to
0000056 G, Craig
336 1/3/2013 USA-REL-_ | Email chain among C.
0245648 Whitney and C. Sloan
regarding Skadden-MoJ
engagement letter
337 1/4/2013 USA-REL- | Email chain among G.
0154922 Craig, C. Sloan, and P.
Manafort attaching
documents regarding the
Skadden-MoJ contract
338 | 2/6/2013 USA-REL- | Email from G. Craig to
0000058 V. Gurtenko attaching
letter to A. Sedov
339 | 2/8/2013 USA-REL- | Email chain among A.
0020247 van der Zwaan, K.
Kilimnik, P. Manafort, et
al. regarding engagement
letter
340 | 2/15/2013 USA-REL- | Email from V. Gurtenko
0008030 to G. Craig, K. Kilimnik,
P. Manafort, and A. van
der Zwaan regarding
contract
341 | 2/18/2013 USA-REL- | Email chain among G.
0195945 Craig, A. van der Zwaan,
and V. Gurtenko
regarding contract
342 | 2/19/2013 USA-REL- | Email chain among G.
0245730 Craig and A. van der
Zwaan regarding contract
343 | 2/25/2013 USA-REL- | Email chain among A.
0196096 van der Zwaan, G. Craig,
and V. Gurtenko
regarding contract
344 | 2/25/2013 USA-REL-_ | Email chain among A.
0196067 van der Zwaan, V.

 

 

 

Gurtenko, G. Craig, and
C. Sloan regarding
contract

 

 

 

 

 

 

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345 | 2/25/2013 USA-REL- | Email chain among C.
0303512 Whitney, G. Craig, and
A. van der Zwaan
regarding engagement
letter

 

346 | 2/26/2013 USA-REL- | Email chain among G.
0108771 Craig, C. Sloan, A. van
der Zwaan, et al.
regarding engagement
letter

 

347 | 2/26/2013 USA-REL- | Email chain among G.
0008044 Craig and P. Manafort
regarding engagement
letter

 

348 | 2/27/2013 USA-REL- | Email chain among P.

0008047 Manafort and G. Craig
regarding engagement
letter

 

349 | 2/28/2013 USA-REL- | Email forward from A.
0039403 van der Zwaan to R.
Gates regarding contract

 

350 | 3/1/2013 USA-REL- | Email forward from G.
0245757 Craig to C. Sloan
regarding contract

 

351 3/4/2013 USA-REL- | Email chain among C.
0196410 Whitney, V. Gurtenko,
and A. van der Zwaan
attaching draft contract

 

352 | 3/5/2013 USA-REL- | Email chain among G.
0008048 Craig and P. Manafort
regarding contract

 

353 3/5/2013 USA-REL- | Email forward from A.
0196470 van der Zwaan to G.
Craig and C. Whitney
regarding contract

 

354 | 3/11/2013 USA-REL- | Email chain among A.
0196533 van der Zwaan, V.
Gurtenko, and G. Craig
regarding contract

 

 

355 | 3/11/2013 USA-REL- | Email chain among A.
0196540 van der Zwaan, G. Craig,
and C. Whitney
regarding contract

 

 

 

 

 

 

 

 

 

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DX DATE PRODUCTION | DESCRIPTION WITNESS | ID | AD | EXHIBIT SENT | OBJECTIONS
BATES IN TO JURY
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356 | 3/14/2013 USA-REL- | Email forward from G.
0304665 Craig to C. Sloan and L.
Spiegel attaching
engagement letter and
contract
357 {| 3/19/2013 USA-REL- | Email chain between A.
0236679 van der Zwaan and C.
Whitney regarding
proposed changes to the
Mo/J contract
358 | 3/20/2013 USA-REL-_ | Email chain among C.
0245856 Whitney and A. van der
Zwaan regarding billing
359 | 3/20/2013 USA-REL- | Disbursement Detail
0337733 from Skadden regarding
MoJ account
360 | 3/27/2013 USA-REL-_ | Email chain among P.
0008060 Manafort and G. Craig
regarding final bill
361 | 4/2/2013 USA-REL- | Email forward from A.
0196694 van der Zwaan to G.
Craig attaching table
annex
362 | 4/9/2013 USA-REL-_ | Email from A. van der
0196762 Zwaan to V. Gurtenko,
G. Craig, and C. Sloan
attaching engagement
letter and contract
363 | 4/10/2013 USA-REL- | Email chain among A.
0196774 van der Zwaan, V.
Gurtenko, G. Craig, and
C. Sloan regarding
contract
364 | 4/15/2013 USA-REL- | Email from C. Whitney
0108831 to A. van der Zwaan
attaching invoice
365 | 4/16/2013 USA-REL- | Email chain between C.
0108851 Whitehead and A. van
der Zwaan regarding
invoice
366 | 4/16/2013 USA-REL- | Email from A. van der
0196868 Zwaan to G. Craig, C.

 

 

 

Sloan, and C. Whitney
attaching documents

 

 

 

 

 

 

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BATES IN TO JURY
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367 | 6/4/2013 USA-REL- | Email chain among A.
0236972 van der Zwaan, A.
Prender, C. Whitney, et
al. regarding billing
368 | 6/5/2013 USA-REL- | Ministry of Justice
0000226 payment
369 | 4/11/2012 | USA-REL- | Email from G. Craig to
0192461 C. Whitney regarding
engagement letter
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